Mark C. Manning
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Counsel for Plaintiff

                         IN THE UNITED STATES DISTRICT COURT
                                  DISTRICT OF ALASKA

COASTAL MARINE FUND,                          )
                                              )
                       Plaintiff,             )
                                              )
v.                                            )
                                              )
JOHN P. LYMAN,                          )
                                        )            Case No. 3:11-cv-00211-JWS
                    Defendant.          )
_______________________________________)

                                       STATUS REPORT
       This is to report the status of documentation of settlement of this action. Counsel have
negotiated a tentative settlement document. One of the individuals on Plaintiff's side who needs to
review and approve the document has reportedly been out of the country and unavailable to review
the document, and is to return the week of October 27, 2014. The parties expect to close the
settlement shortly after his or her return. Accordingly, it is respectfully suggested this matter be
scheduled for another report in 30 days, if closing has not occurred.

       DATED this 4th day of April, 2013, at Anchorage, Alaska.

                                                       s/ Mark C. Manning
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CERTIFICATE OF SERVICE

I certify that, on 10/22 /14, a copy of
the foregoing was served electronically on:

Robert L. Richmond, Esq.
Rebecca Lindemann, Esq.
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   s/ Mark C. Manning




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